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)LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH
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 Northern District of Texas
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 &DVHQXPEHU If known  BBBBBBBBBBBBBBBBBBBBBBBBB&KDSWHUBBBBB
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2IILFLDO)RUP
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                  

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHGHEWRU¶VQDPHDQGWKHFDVH
QXPEHU LINQRZQ )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH




    'HEWRU¶VQDPH                          Buffets, LLC
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                                             2338 N. Loop 1604 W.
                                             Suite 350
                                             
                                             San Antonio TX 78248                                                 




                                                                                                                  /RFDWLRQRISULQFLSDODVVHWVLIGLIIHUHQWIURP
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            Case 21-30723-sgj11 Doc 1 Filed 04/20/21                                      Entered 04/20/21 12:53:11                     Page 2 of 22

'HEWRU         Buffets, LLC
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                                                                           ([FKDQJH$FWRI)LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                                           for Bankruptcy under Chapter 11 2IILFLDO)RUP$ ZLWKWKLVIRUP

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            Case 21-30723-sgj11 Doc 1 Filed 04/20/21                                 Entered 04/20/21 12:53:11                 Page 3 of 22

'HEWRU          Buffets, LLC
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                                                             Western District of TX          03 / 07 / 2016
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  :K\LVWKHFDVHILOHGLQthis       Check all that apply:
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                                          'HEWRUKDVKDGLWVGRPLFLOHSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKLVGLVWULFWIRUGD\V
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              Statistical and administrative information




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           Case 21-30723-sgj11 Doc 1 Filed 04/20/21                                 Entered 04/20/21 12:53:11                       Page 4 of 22

'HEWRU        Buffets, LLC
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             Request for Relief, Declaration, and Signatures


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                                                      Chief Restructuring Officer                             




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            Case 21-30723-sgj11 Doc 1 Filed 04/20/21                             Entered 04/20/21 12:53:11                Page 5 of 22

'HEWRU         Buffets, LLC
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                                              Jason S. Brookner
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              Case 21-30723-sgj11 Doc 1 Filed 04/20/21                                 Entered 04/20/21 12:53:11          Page 6 of 22
Fill in this information to identify the case:

Debtor name _Buffets LLC__________________________________

United States Bankruptcy Court for the: Northern            District of     Texas
                                                                          (State)

Case number (If known):
                                                                                                                                Check if this is an
                                                                                                                               amended filing


                           VOLUNTARY PETITION PART 10 ATTACHMENT
  Are any bankruptcy cases pending or being filed by a business partner or an affiliate of the debtor?


                          DEBTOR                        RELATIONSHIP                       DISTRICT             WHEN          CASE NUMBER



                                                                                                                                  TBD
       Hometown Buffet, Inc.                               Affiliate                Northern District of TX   4/20/2021
  1


       OCB Restaurant Company, LLC                         Affiliate                Northern District of TX   4/20/2021           TBD
  2


       OCB Purchasing, Co.                                 Affiliate                Northern District of TX   4/20/2021           TBD
  3


       Ryan’s Restaurant Group, LLC                        Affiliate                Northern District of TX   4/20/2021           TBD
  4


       Fire Mountain Restaurants, LLC                      Affiliate                Northern District of TX   4/20/2021           TBD
  5


       Tahoe Joe’s Inc.                                    Affiliate                Northern District of TX   4/20/2021           TBD
  6


       Alamo Ovation, LLC                                  Affiliate                Northern District of TX   4/20/2021           TBD
  7

                                                                                                                                  TBD
       Fresh Acquisitions, LLC                             Affiliate                Northern District of TX   4/20/2021
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       FMP-Ovation Payroll, LLC                            Affiliate                Northern District of TX   4/20/2021
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       Alamo Fresh Payroll, LLC                            Affiliate                Northern District of TX   4/20/2021
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       FMP-Fresh Payroll, LLC                              Affiliate                Northern District of TX   4/20/2021
  11

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       Alamo Buffets Payroll, LLC                          Affiliate                Northern District of TX   4/20/2021
  12

                                                                                                                                  TBD
       Food Management Partners, Inc.                      Affiliate                Northern District of TX   4/20/2021
  13

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       FMP SA Management Group, LLC                        Affiliate                Northern District of TX   4/20/2021
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 Fill in this information to identify the case and this filing:


              Buffets, LLC
 Debtor Name __________________________________________________________________
                                            Northern                           Texas
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         ✔                                                List of Equity Security Holders
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    04-20-2021
        Executed on ______________                          8 /s/    Mark Shapiro
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Mark Shapiro
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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             Filing of Chapter 11 Case and Related Authorizations

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             FDXVHWREHH[HFXWHGDQGRUILOHG RUWRGLUHFWRWKHUVWRGRVRRQWKHLUEHKDOIDVSURYLGHGKHUHLQ 
             DOOQHFHVVDU\GRFXPHQWVLQFOXGLQJEXWQRWOLPLWHGWRDOOSHWLWLRQVDIILGDYLWVVFKHGXOHVPRWLRQV
             OLVWV DSSOLFDWLRQV SOHDGLQJV DQG RWKHU SDSHUV DQG LQ WKDW FRQQHFWLRQ WR HPSOR\ DQG UHWDLQ DOO
             DVVLVWDQFHE\OHJDOFRXQVHODFFRXQWDQWVRURWKHUSURIHVVLRQDOVDQGWRWDNHDQ\DQGDOORWKHUDFWLRQ
             WKDW WKH\ RU DQ\ RI WKHP GHHP QHFHVVDU\ SURSHU RU GHVLUDEOH LQ FRQQHFWLRQ ZLWK WKH &DVH
             FRQWHPSODWHGKHUHE\ZLWKDYLHZWRWKHVXFFHVVIXOSURVHFXWLRQRIVXFKFDVHDQGIXUWKHU

                   5(62/9(' WKDW WKH ODZ ILUP RI *UD\ 5HHG  0F*UDZ //3  (OP 6WUHHW 6XLWH
             'DOODV7H[DVEHDQGKHUHE\LVHPSOR\HGXQGHUDJHQHUDOUHWDLQHUDVEDQNUXSWF\
             FRXQVHOWRUHSUHVHQWDQGDVVLVWWKH&RPSDQLHVDQGWKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKH&DVH
             DQGIXUWKHU

                   5(62/9(' WKDW % 5LOH\ $GYLVRU\ 6HUYLFHV  0DSOH $YHQXH 6XLWH  'DOODV
             7H[DV  EH DQG KHUHE\ LV HQJDJHG XQGHU D JHQHUDO UHWDLQHU DV ILQDQFLDO DGYLVRU IRU WKH
             &RPSDQLHVDQGWKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKH&DVHDQGIXUWKHU

                     5(62/9('WKDWWKHODZILUPRI.DWWHQ0XFKLQ5RVHQPDQ//31RUWK3HDUO6WUHHW
             6XLWH'DOODV7H[DVEHDQGKHUHE\LVHPSOR\HGDVVSHFLDOFRXQVHOWRUHSUHVHQWDQG
             DVVLVWWKH&RPSDQLHVDQGWKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKH&DVHDQGIXUWKHU

                    5(62/9('WKDW%0&*URXS,QFVW$YHQXH6HDWWOH:DVKLQJWRQEHDQG
             KHUHE\LVHQJDJHGXQGHUDJHQHUDOUHWDLQHUDVFODLPVDQGQRWLFLQJDJHQWIRUWKH&RPSDQLHVDQG
             WKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKLV&DVHDQGIXUWKHU

                    5(62/9(' WKDW +LOFR 5HDO (VWDWH //& EH DQG KHUHE\ LV HQJDJHG XQGHU D JHQHUDO
             UHWDLQHUDVUHDOHVWDWHFRQVXOWDQWDQGDGYLVRUIRUWKH&RPSDQLHVLQWKH&DVHDQGIXUWKHU

                  5(62/9('WKDWWKH$XWKRUL]HG2IILFHUVEHDQGHDFKRIWKHPKHUHE\LVDXWKRUL]HGDQG
             HPSRZHUHGLQWKHQDPHDQGRQEHKDOIRIWKH&RPSDQLHVWRUHWDLQVXFKRWKHUSURIHVVLRQDOVDVWKH\
             GHHPDSSURSULDWHGXULQJWKHFRXUVHRIWKH&DVHDQGIXUWKHU

                   5(62/9(' WKDW DOO DFWV ODZIXOO\ GRQH RU DFWLRQV ODZIXOO\ WDNHQ E\ DQ\ $XWKRUL]HG
             2IILFHUWRVHHNUHOLHIRQEHKDOIRIWKH&RPSDQLHVXQGHUFKDSWHURIWKH%DQNUXSWF\&RGHRULQ
             FRQQHFWLRQZLWKWKH&DVHRUDQ\PDWWHUUHODWHGWKHUHWRLQFOXGLQJLQFRQQHFWLRQZLWKWKHGHEWRULQ
             SRVVHVVLRQ ILQDQFLQJEHDQGWKH\KHUHE\DUHDGRSWHGUDWLILHG FRQILUPHG DQG DSSURYHG LQ DOO
             UHVSHFWVDVWKHDFWVDQGGHHGVRIWKH&RPSDQLHV

             Delegation of Duties to the Independent Governing Person and the CRO

                    5(62/9('WKDWWRWKHIXOOHVWH[WHQWSHUPLWWHGE\DSSOLFDEOHODZDQGWKH2UJDQL]DWLRQDO
             'RFXPHQWVWKH*RYHUQLQJ3HUVRQVRWKHUWKDQWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ FROOHFWLYHO\
             WKH³'HOHJDWLQJ*RYHUQLQJ3HUVRQV´ KHUHE\GHOHJDWHWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG
             WKH&52WRJHWKHUWKHDXWKRULW\WRUHYLHZDQGDFWXSRQDQ\PDWWHUDULVLQJLQRUUHODWHGWRWKH&DVH
             LQFOXGLQJ EXW QRW OLPLWHG WR WKH ILOLQJ DQG SURVHFXWLRQ WKHUHRI RU DQ\ WUDQVDFWLRQV DWWHQGDQW
             WKHUHWRLQFOXGLQJEXWQRWOLPLWHGWRDQ\RWKHUWUDQVDFWLRQVGHVFULEHGLQWKHVHUHVROXWLRQVLQZKLFK
             DFRQIOLFWH[LVWVEHWZHHQRQHRUPRUH&RPSDQLHVRQWKHRQHKDQGDQGVXFK&RPSDQLHV¶UHVSHFWLYH
             PHPEHUVVKDUHKROGHUVRUDIILOLDWHVRUWKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVRUVXFK&RPSDQLHV¶

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             RIILFHUVRQWKHRWKHUKDQG HDFKD³&RQIOLFW0DWWHU´ DQGIXUWKHU

                    5(62/9(' WKDW WR WKH IXOOHVW H[WHQW SHUPLWWHG XQGHU DSSOLFDEOH ODZ WKH 'HOHJDWLQJ
             *RYHUQLQJ3HUVRQVKHUHE\GHOHJDWHWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52WRJHWKHU
             WKH DXWKRULW\ WR LQYHVWLJDWH DQG GHWHUPLQH LQ WKHLU EXVLQHVV MXGJPHQW DQG ZLWK WKH DGYLFH RI
             FRXQVHOZKHWKHUDQ\PDWWHUDULVLQJLQRUUHODWHGWRWKH&DVHRUDQ\WUDQVDFWLRQVDWWHQGDQWWKHUHWR
             FRQVWLWXWHVD&RQIOLFW0DWWHUDQGWKDWDQ\VXFKGHWHUPLQDWLRQVKDOOEHELQGLQJRQWKH&RPSDQLHV
             DQGIXUWKHU

                     5(62/9('WKDWLIWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52WRJHWKHUGHWHUPLQH
             ZLWKWKHDGYLFHRIFRXQVHOWKDWDSDUWLFXODU&RQIOLFW0DWWHUGRHVQRWSRVHDQ\FRQIOLFWZLWKUHVSHFW
             WR DQ\ RI WKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVWKHQVXFK'HOHJDWLQJ*RYHUQLQJ3HUVRQVVKDOOEH
             SHUPLWWHGWRSDUWLFLSDWHLQDOODFWLRQVDQGGHOLEHUDWLRQVUHODWLQJWRVXFK&RQIOLFW0DWWHURQWKHVDPH
             EDVLVDVWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52DQGIXUWKHU

                     5(62/9('WKDWWRWKHIXOOHVWH[WHQWSHUPLWWHGE\DSSOLFDEOHODZDQGWKH2UJDQL]DWLRQDO
             'RFXPHQWV RI HDFK &RPSDQ\ WKH 'HOHJDWLQJ *RYHUQLQJ 3HUVRQV KHUHE\ GHOHJDWH WR WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52WRJHWKHUWKHDXWKRULW\WRFRQGXFWDOOLQYHVWLJDWLRQV
             DQGDQDO\VHVUHODWHGWRDQ\&RQIOLFW0DWWHUQHFHVVDU\RUGHVLUDEOHLQRUGHUWREHIXOO\DGYLVHGZLWK
             UHJDUGWRVXFK&RQIOLFW0DWWHULQWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ¶VDQGWKH&52¶VEXVLQHVV
             MXGJPHQW ZLWK WKH DGYLFH RI FRXQVHO DQG WR DFW RQ EHKDOI RI WKH &RPSDQLHV DQG ELQG WKH
             &RPSDQLHV LQ FRQQHFWLRQ WKHUHZLWK LQFOXGLQJ WDNLQJ DQ\ DQG DOO DFWLRQV WR QHJRWLDWH UHVROYH
             DELGHE\DQGLPSOHPHQWWKHGHFLVLRQVDQGDFWLRQVRIWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH
             &52ZLWKUHVSHFWWRWKH&RQIOLFW0DWWHUZKLFKUHVSRQVLELOLWLHVPD\LQFOXGHEXWDUHQRWOLPLWHG
             WRIDFWLQYHVWLJDWLRQOHJDOUHVHDUFKEULHILQJGLVFRYHU\QHJRWLDWLRQDQGVHWWOHPHQWRIWKH&RQIOLFW
             0DWWHUDQGFRPPXQLFDWLRQVDQGPHHWLQJVZLWKSDUWLHVLQLQWHUHVWLQFRQQHFWLRQZLWKWKHIRUHJRLQJ
             DQGIXUWKHU

                    5(62/9('WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52VKDOOFRQIHUDQGFRQVXOW
             ZLWKWKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVDVUHDVRQDEO\QHFHVVDU\DQGDSSURSULDWHDQGZLOOXSGDWH
             WKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVDWPHHWLQJVWKHUHRIUHJDUGLQJ D DQ\UHYLHZRIDQGGHFLVLRQV
             PDGHZLWKUHJDUGWRDQ\&RQIOLFW0DWWHUDQG E DQ\LQYHVWLJDWLRQDQDO\VLVDQGGHFLVLRQVPDGH
             ZLWKUHJDUGWRDQ\&RQIOLFW0DWWHULQHDFKFDVHLQWKHPDQQHUWKDWWKH,QGHSHQGHQW*RYHUQLQJ
             3HUVRQDQG&52GHWHUPLQHWREHDSSURSULDWHDQGQHFHVVDU\WRIXOILOOWKHLUGXWLHVDQGREOLJDWLRQV
             WDNLQJLQWRWKHDFFRXQWWKHFRQILGHQWLDOLW\RIWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ¶VDQG&52¶VZRUN
             LQFOXGLQJWKHLUFRPPXQLFDWLRQVZLWKFRXQVHODQGIXUWKHU

                    5(62/9('WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52VKDOOFRQWURODQ\DWWRUQH\
             FOLHQWZRUNSURGXFWRURWKHUSULYLOHJHEHORQJLQJWRWKH&RPSDQLHVLQFRQQHFWLRQZLWKWKH&RQIOLFW
             0DWWHUVDQGRQZKHWKHUDQ\PDWWHUFRQVWLWXWHVD&RQIOLFW0DWWHUDQGIXUWKHU

                    5(62/9('WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52DUHKHUHE\DXWKRUL]HGWR
             WDNHDOODFWLRQVWKH\GHHPQHFHVVDU\DGYLVDEOHRUDSSURSULDWHLQFRQQHFWLRQZLWKDQGLQRUGHUWR
             FDUU\ RXW FRPSO\ ZLWK DQG HIIHFWXDWH WKH SXUSRVH DQG LQWHQW RI WKH IRUHJRLQJ DQG WKH YDULRXV
             PDWWHUV FRQWHPSODWHG KHUHE\ VXEMHFW WR DQ\ OLPLWDWLRQV LPSRVHG E\ DSSOLFDEOH ODZ DQGRU DV
             H[SUHVVO\SURYLGHGIRUKHUHLQLQFOXGLQJZLWKRXWOLPLWDWLRQWRUHWDLQDSSURYHWKHFRPSHQVDWLRQ
             DQGRWKHUUHWHQWLRQWHUPVRIDQGWHUPLQDWHDGYLVRUVLQFOXGLQJOHJDOFRXQVHOILQDQFLDODGYLVRUVRU


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             RWKHUFRQVXOWDQWVRUH[SHUWVWRDGYLVHWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52 ZKLFKDOVR
             PD\EHDGYLVRUVSURYLGLQJVHUYLFHVWRWKH&RPSDQLHV DQGIXUWKHU

                    5(62/9(' WKDW WKH H[HFXWLRQ E\ DQ $XWKRUL]HG 2IILFHU RI DQ\ GRFXPHQW RU
             SHUIRUPDQFHRIDQ\DFWDXWKRUL]HGE\WKHIRUHJRLQJUHVROXWLRQVRUDQ\GRFXPHQWH[HFXWHGRUDFW
             SHUIRUPHGLQWKHDFFRPSOLVKPHQWRIDQ\DFWLRQRUDFWLRQVVRDXWKRUL]HGLQFOXGLQJEXWQRWOLPLWHG
             WRIXUQLVKLQJWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52DOOLQIRUPDWLRQDVWKH,QGHSHQGHQW
             *RYHUQLQJ3HUVRQPD\UHTXHVWLQDPDQQHUWKDWZLOOQRWHIIHFWDZDLYHURIDQ\DSSOLFDEOHSULYLOHJH
             DQGRWKHUZLVHLQFRRSHUDWLRQZLWKWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQDOOUHVSHFWV RU
             VKDOOEHFRPHXSRQGHOLYHU\ WKHHQIRUFHDEOHDQGELQGLQJDFWDQGREOLJDWLRQRIWKH&RPSDQLHVDV
             DSSOLFDEOH ZLWKRXW WKH QHFHVVLW\ RI WKH VLJQDWXUH RU DWWHVWDWLRQ RI DQ\ RWKHU RIILFHU RU
             UHSUHVHQWDWLYHRIWKH&RPSDQLHVDQGIXUWKHU

                    5(62/9(' WKDW DQ\ RIILFHUV HPSOR\HHV DGYLVRUV DQG DJHQWV RI WKH &RPSDQLHV
              FROOHFWLYHO\³$XWKRUL]HG3HUVRQV´ DFWLQJDORQHRUZLWKRQHRUPRUHRWKHU$XWKRUL]HG3HUVRQV
             EHDQGKHUHE\DUHDXWKRUL]HGHPSRZHUHGDQGGLUHFWHGWRWDNHDQ\DQGDOODFWLRQVWKDWWKH\GHHP
             QHFHVVDU\SURSHURUDGYLVDEOHFRQVLVWHQWZLWKWKHVHUHVROXWLRQVRULQRUGHUWRFDUU\RXWIXOO\WKH
             LQWHQWDQGSXUSRVHVRIWKHVHUHVROXWLRQVLQHDFKFDVHDVUHTXHVWHGE\DQGXQGHUWKHGLUHFWLRQRI
             WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQFOXGLQJIXUQLVKLQJWRWKH,QGHSHQGHQW*RYHUQLQJ
             3HUVRQDQG&52DOOLQIRUPDWLRQDVWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52PD\UHTXHVWLQ
             D PDWWHU WKDW VKDOO QRW HIIHFW D ZDLYHU RI DQ\ DSSOLFDEOH SULYLOHJH DQG WR FRRSHUDWH ZLWK WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQDOOUHVSHFWVDQGIXUWKHU

                    5(62/9(' WKDW DQ\ $XWKRUL]HG 3HUVRQ DFWLQJ DORQH RU ZLWK RQH RU PRUH RWKHU VXFK
             $XWKRUL]HG 3HUVRQV EH DQG KHUHE\ LV DXWKRUL]HG HPSRZHUHG DQG GLUHFWHG WR LPSOHPHQW DQ\
             GHFLVLRQPDGHE\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQUHVSHFWRID&RQIOLFW0DWWHURQ
             EHKDOIRIWKH&RPSDQLHVDVGLUHFWHGE\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52provided
             WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52UHWDLQWKHULJKWWRLPSOHPHQWDQ\VXFKGHFLVLRQ
             RQEHKDOIRIWKH&RPSDQLHVRQWKHLURZQDQGIXUWKHU

                    5(62/9(' WKDW ZLWKRXW OLPLWLQJ DQ\ ULJKWV SRZHUV DQG DXWKRULWLHV GHOHJDWHG WR WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52E\WKHVHUHVROXWLRQVWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ
             DQG &52 DUH IUHH WR GHWHUPLQH ZKHWKHU WKH RWKHU PDWWHUV DQG WUDQVDFWLRQV GHVFULEHG LQ WKHVH
             UHVROXWLRQVFRQVWLWXWH&RQIOLFW0DWWHUVDQGDVVXFKWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52
             VKDOOEHIUHHWRDFWZLWKUHVSHFWWRVXFK&RQIOLFW0DWWHUVRQEHKDOIRIWKH&RPSDQLHVLQDFFRUGDQFH
             ZLWKWKHIRUHJRLQJGHOHJDWLRQRIULJKWVSRZHUVDQGDXWKRULWLHVDQGUHJDUGOHVVRIZKHWKHUVXFK
             GHWHUPLQDWLRQLVPDGHRQEHIRUHRUDIWHUWKHGDWHKHUHRI

             Prepetition and Debtor-In-Possession Credit Agreement

                    5(62/9('WKDWWKHERUURZLQJE\WKH&RPSDQLHVIURP9LWD1RYD%UDQGV//&D7H[DV
             OLPLWHG OLDELOLW\ FRPSDQ\ WKH ³/HQGHU´  RI FHUWDLQ SUHSHWLWLRQ DQG SRVWSHWLWLRQ ORDQV LQ WKH
             DJJUHJDWH DPRXQW RI XS WR 7+5(( 0,//,21 ),9( +81'5(' 7+286$1' $1' 12
             81,7('67$7(6'2//$56   WKH³/RDQ´ VXFKERUURZLQJWREHHYLGHQFHGE\
             D3URPLVVRU\1RWHH[HFXWHGLQWKHRULJLQDOSULQFLSDODPRXQWRI WKH³1RWH´ PDGH
             MRLQWO\DQGVHYHUDOO\E\WKH&RPSDQLHVDQGSD\DEOHWRWKHRUGHURIWKH/HQGHULVKHUHE\DSSURYHG
             E\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52DQGIXUWKHU


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                    5(62/9('WKDWWKHIRUPDQGFRQWHQWRIWKH3UHSHWLWLRQDQG'HEWRU,Q3RVVHVVLRQ&UHGLW
             $JUHHPHQW WKH³/RDQ$JUHHPHQW´ WREHHQWHUHGLQWRE\WKH&RPSDQLHVDQGWKH/HQGHULQWKH
             IRUPRIGUDIWVH[KLELWHGWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52ZLWKVXFKFKDQJHVDV
             DUHKHUHLQDIWHUDXWKRUL]HGDQGWKHWUDQVDFWLRQVFRQWHPSODWHGWKHUHE\DUHKHUHE\DSSURYHGE\WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52DQGIXUWKHU

                     5(62/9('WKDWWKHIRUPDQGFRQWHQWRIWKHIROORZLQJGRFXPHQWV

                                 D   7KH1RWHDQG

                                 E   7KH 3OHGJH DQG 6HFXULW\ $JUHHPHQW WKH ³%XIIHWV 6HFXULW\ $JUHHPHQW´ 
                                      H[HFXWHGE\%XIIHWVLQIDYRURI/HQGHUSXUVXDQWWRZKLFK%XIIHWVJUDQWVWR
                                      /HQGHU D VHFXULW\ LQWHUHVW LQ DPRQJ RWKHU WKLQJV RQHKXQGUHG SHUFHQW
                                        RI%XIIHWV¶FRPPRQVWRFNYRWLQJULJKWVDQGRZQHUVKLSULJKWVLQRU
                                      UHODWHGWR+RPH7RZQ%XIIHWDQG

                                 F   7KH 3OHGJH DQG 6HFXULW\ $JUHHPHQW WKH ³+RPH7RZQ 6HFXULW\
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                                      WRZKLFK+RPH7RZQ%XIIHWJUDQWVWR/HQGHUDVHFXULW\LQWHUHVWLQDPRQJ
                                      RWKHUWKLQJVRQHKXQGUHGSHUFHQW  RI+RPH7RZQ%XIIHW¶VFRPPRQ
                                      VWRFNYRWLQJULJKWVDQGRZQHUVKLSULJKWVLQRUUHODWHGWR7DKRH-RH

             DV H[KLELWHG WR WKH ,QGHSHQGHQW *RYHUQLQJ 3HUVRQ DQG WKH &52 DQG ZLWK VXFK FKDQJHV DV DUH
             KHUHLQDIWHUDXWKRUL]HGDUHKHUHE\DSSURYHGE\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52
              WKH 1RWH WKH %XIIHWV 6HFXULW\ $JUHHPHQW DQG WKH +RPH7RZQ 6HFXULW\ $JUHHPHQW DUH
             FROOHFWLYHO\UHIHUUHGWRDVWKH³/RDQ'RFXPHQWV´ DQGIXUWKHU

                    5(62/9('WKDWDQ\$XWKRUL]HG2IILFHULQFOXGLQJEXWQRWOLPLWHGWRWKH&52LVKHUHE\
             DXWKRUL]HGRQEHKDOIRIWKH&RPSDQLHVWRH[HFXWHDQGGHOLYHUWRWKH/HQGHUWKH/RDQ$JUHHPHQW
             DQG WKH /RDQ 'RFXPHQWV WR ZKLFK DQ\ RI WKH &RPSDQLHV LV D SDUW\ LQ VXEVWDQWLDOO\ WKH IRUP
             DSSURYHGE\WKHVHUHVROXWLRQVZLWKVXFKDPHQGPHQWVRUFKDQJHVWKHUHWRDVVXFKSHUVRQVRDFWLQJ
             PD\DSSURYHVXFKDSSURYDOWREHFRQFOXVLYHO\HYLGHQFHGE\VXFKSHUVRQ¶VH[HFXWLRQDQGGHOLYHU\
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             3HUVRQVPHPEHUVVKDUHKROGHUVRUUHSUHVHQWDWLYHVRIHDFK&RPSDQ\IRUDQGRQEHKDOIDQGLQWKH
             QDPHRIVXFK&RPSDQ\ZLWKWKH/HQGHUSULRUWRWKHDGRSWLRQRIWKHVHUHVROXWLRQVLQFOXGLQJEXW
             QRWOLPLWHGWRWKHQHJRWLDWLRQRIWKH/RDQ$JUHHPHQWDQGWKH/RDQ'RFXPHQWVDUHKHUHE\UDWLILHG
             FRQILUPHGDQGDSSURYHGLQDOOUHVSHFWVIRUDOOSXUSRVHVDQGIXUWKHU

                   5(62/9('WKDWWKHSRZHUVDQGDXWKRUL]DWLRQVFRQWDLQHGKHUHLQZLWKUHVSHFWWRWKH/RDQ
             $JUHHPHQWDQGWKH/RDQ'RFXPHQWVVKDOOFRQWLQXHLQIXOOIRUFHDQGHIIHFWXQWLOZULWWHQQRWLFHRI
             UHYRFDWLRQKDVEHHQJLYHQWRDQGUHFHLYHGE\WKH/HQGHU

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                   5(62/9('WKDWLQDGGLWLRQWRWKHVSHFLILFDXWKRUL]DWLRQVKHUHWRIRUHFRQIHUUHGXSRQWKH
             $XWKRUL]HG2IILFHUVDQGH[FHSWDVSURYLGHGDERYHZLWKUHVSHFWWR&RQIOLFW0DWWHUVHDFKRIWKH

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             $XWKRUL]HG 2IILFHUV DQG WKHLU GHVLJQHHV DQG GHOHJDWHV  EH DQG KHUHE\ LV DXWKRUL]HG DQG
             HPSRZHUHG LQ WKH QDPH RI DQG RQ EHKDOI RI WKH &RPSDQ\ RU &RPSDQLHV IRU ZKLFK VXFK
             $XWKRUL]HG2IILFHUVDUHDXWKRUL]HGWRDFWWRWDNHRUFDXVHWREHWDNHQDQ\DQGDOOVXFKRWKHUDQG
             IXUWKHU DFWLRQ DQG WR H[HFXWH DFNQRZOHGJH GHOLYHU DQG ILOH DQ\ DQG DOO VXFK DJUHHPHQWV
             FHUWLILFDWHVLQVWUXPHQWVQRWLFHVDQGRWKHUGRFXPHQWVDQGWRSD\DOOH[SHQVHVLQFOXGLQJEXWQRW
             OLPLWHGWRILOLQJIHHVLQWKHFDVHDVLQVXFK$XWKRUL]HG2IILFHU¶VMXGJPHQWVKDOOEHQHFHVVDU\
             DGYLVDEOHRUGHVLUDEOHLQRUGHUWRIXOO\FDUU\RXWWKHLQWHQWDQGDFFRPSOLVKWKHSXUSRVHVRIWKH
             UHVROXWLRQVDGRSWHGKHUHLQDQGIXUWKHU

                    5(62/9(' WKDW HDFK &RPSDQ\ DQG HDFK *RYHUQLQJ 3HUVRQ WKHUHRI KDYH UHFHLYHG
             VXIILFLHQW QRWLFH RI WKH DFWLRQV DQG WUDQVDFWLRQV UHODWLQJ WR WKH PDWWHUV FRQWHPSODWHG E\ WKH
             IRUHJRLQJ UHVROXWLRQV DV PD\ EH UHTXLUHG E\ WKH 2UJDQL]DWLRQDO 'RFXPHQWV RI WKH DSSOLFDEOH
             &RPSDQ\RUKHUHE\ZDLYHVDQ\ULJKWWRKDYHUHFHLYHGVXFKQRWLFHDQGIXUWKHU

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             E\WKHIRUHJRLQJUHVROXWLRQVGRQHLQWKHQDPHRIDQGRQEHKDOIRIHDFK&RPSDQ\RU&RPSDQLHV
             ZKLFK DFWV ZRXOG KDYH EHHQ DSSURYHG E\ WKH IRUHJRLQJ UHVROXWLRQV H[FHSW WKDW VXFK DFWV ZHUH
             WDNHQEHIRUHWKHDGRSWLRQRIWKHVHUHVROXWLRQVDUHKHUHE\LQDOOUHVSHFWVDSSURYHGDQGUDWLILHGDV
             WKHWUXHDFWVDQGGHHGVRIWKHDSSOLFDEOH&RPSDQ\RU&RPSDQLHVZLWKWKHVDPHIRUFHDQGHIIHFWDV
             LIHDFKVXFKDFWWUDQVDFWLRQDJUHHPHQWRUFHUWLILFDWHKDVEHHQVSHFLILFDOO\DXWKRUL]HGLQDGYDQFH
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             UHVSHFW WR WKHWUDQVDFWLRQVFRQWHPSODWHG E\ WKHVH UHVROXWLRQVLQHDFKFDVHDVVXFK$XWKRUL]HG
             2IILFHU VKDOO GHHP QHFHVVDU\ RU GHVLUDEOH LQ VXFK $XWKRUL]HG 2IILFHU¶V UHDVRQDEOH EXVLQHVV
             MXGJPHQW DV PD\ EH QHFHVVDU\ RU FRQYHQLHQW WR HIIHFWXDWH WKH SXUSRVHV RI WKH WUDQVDFWLRQV
             FRQWHPSODWHGKHUHLQDQGIXUWKHU

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             PRGLI\IURPWLPHWRWLPHWKHWHUPVRIDQ\GRFXPHQWVFHUWLILFDWHVLQVWUXPHQWVDJUHHPHQWVRURWKHU
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             SURGXFHRUDFFRXQWIRUPRUHWKDQRQHVXFKFRXQWHUSDUW7KHVHUHVROXWLRQVPD\EHGHOLYHUHGE\
             HOHFWURQLFWUDQVPLVVLRQDQGGHOLYHU\LQVXFKPDQQHUVKDOOFRQVWLWXWHGHOLYHU\RIDQRULJLQDO

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